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   8   Communications, LLC
   9                       UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
  11
       ENTROPIC COMMUNICATIONS,                 Case No. 2:23-cv-1043-JWH-KES
  12   LLC,                                     (Lead Case)
  13                     Plaintiff,             Case No. 2:23-cv-1047-JWH-KES
                                                (Related Case)
  14         v.                                 Case No. 2:23-cv-1048-JWH-KES
                                                (Related Case)
  15   DISH NETWORK CORPORATION,                Case No. 2:23-cv-5253-JWH-KES
       et al.,                                  (Related Case)
  16
                         Defendants.            [Assigned to the Honorable John W.
  17                                            Holcomb]
  18                                            ENTROPIC COMMUNICATIONS,
                                                LLC’S REPLY IN SUPPORT OF
  19                                            MOTION TO DISMISS COX
                                                DEFENDANTS’ AMENDED
  20   ENTROPIC COMMUNICATIONS,                 COUNTERCLAIMS PURSUANT TO
       LLC,                                     RULE 12(b)(6)
  21
                         Plaintiff,             REFERRED TO SPECIAL MASTER
  22
             v.                                 Previously-set hearing, now vacated
  23                                            Hearing Date:          March 29, 2024
       COX COMMUNICATIONS, INC., et             Hearing Time:          9:00 a.m.
  24   al.,                                     Courtroom:             9D
  25                     Defendants.
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          ENTROPIC’S REPLY IN SUPPORT OF MOTION TO DISMISS COX
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       ENTROPIC COMMUNICATIONS,
   2   LLC,
   3                      Plaintiff,
   4        v.
   5   COMCAST, et al.,
   6                      Defendants.
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       ENTROPIC COMMUNICATIONS,
  10   LLC,
  11                      Plaintiff,
  12        v.
  13   DIRECTV, LLC, et al.,
  14                      Defendants.
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   1   I.    INTRODUCTION
   2         Cox’s Counterclaims rely on facially erroneous readings of the MoCA IPR
   3   Policy and of the MoCA confidentiality protections. Because Cox’s Counterclaims
   4   are contrary to the plain terms of the IPR Policy and confidentiality requirements,
   5   they fail as a matter of law and must be dismissed.
   6         Fatally, Cox wrongly asserts that the IPR Policy obligated MaxLinear to
   7   retain, for all time, the right to grant licenses to any essential patent claims. In truth,
   8   the IPR Policy expressly permits parties to assign their patent rights to successors-
   9   in-interest. To ensure that RAND licenses will continue to be offered after
  10   assignment, the obligation to license on RAND terms travels with the patent and
  11   binds the new owner: “the licensing obligations under this IPR Policy are intended
  12   to be binding (e.g., as encumbrances) on all successors-in-interest.” IPR Policy
  13   § 5.1.2. And it confirms this is so regardless of the specific language used to assign
  14   essential patents. Id. The IPR Policy does not require the original patent owner to
  15   retain the right to license because the assurance that RAND licenses will continue
  16   to be available is that the licensing obligations bind the successors-in-interest.
  17   There is no provision requiring the Alliance Party who originally owned the patents
  18   retain a right to license. Further still, Section 5.1.2 states that “[a]n Alliance Party
  19   may choose the manner in which it complies with this Section 5.1.2.” MaxLinear
  20   chose to comply by assigning all rights, interests, and obligations to Entropic. The
  21   obligation to offer licenses under the terms of the IPR Policy was among the
  22   assigned obligations. Cox’s position that the IPR Policy required MaxLinear to
  23   retain a right to license the patents is unsupportable given the plain language of the
  24   IPR Policy permitting assignments, and thus cannot plausibly support a claim for
  25   breach of contract (Count II). Furthermore, without a breach of contract, the
  26   tortious interference claim also automatically fails (Count III).
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   1          Likewise, Cox does not plausibly allege that the MoCA standards documents
   2   in question were subject to confidentiality obligations, nor that Entropic committed
   3   intentional acts designed to induce MaxLinear to violate any such obligations. The
   4   documents state on their face that they issued in 2013. The applicable
   5   confidentiality protections expired                 . Therefore, no confidentiality
   6   obligations were in effect when Entropic received the documents from MaxLinear
   7   in 2021. As a matter of law there can be no violation of a non-existent obligation.
   8   And even if Cox’s pleadings were somehow sufficient (which they are not), the
   9   Court should decline to exercise jurisdiction over them because the confidentiality
  10   claims do not depend on any question of federal patent law.
  11          Therefore, Cox is unable to make a plausible showing that it is entitled to
  12   relief, and the Court should dismiss the Counterclaims against Entropic.
  13   II.    ARGUMENT
  14          Cox seeks a declaration that the transfer of patents to Entropic was void
  15   (Count II) and asserts a claim of tortious interference with contract (Count III).
  16   These counterclaims hinge on two erroneous theories: (1) that MaxLinear breached
  17   the IPR Policy by transferring the Asserted Patents to Entropic without retaining for
  18   itself the right to grant licenses; and (2) that MaxLinear breached confidentiality
  19   obligations by disclosing MoCA standards documents to Entropic. Because neither
  20   theory is properly pled, Counts II and III of Cox’s Counterclaims fail as a matter of
  21   law.
  22          A.    Cox has not plausibly alleged a breach of the IPR Policy because
  23   MaxLinear was not bound to retain a licensing right.
  24   Cox cannot plausibly allege a breach of the IPR Policy because the
  25   unambiguous terms of the Policy show that MaxLinear was not required to retain
  26   the right to grant licenses to essential patents. Cox concedes that the IPR Policy
  27   expressly permits assignment of essential patent claims. See Opp. Br. at 19; see also
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                                       5
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   1   IPR Policy § 5.1.2. Cox does not dispute that the IPR Policy’s licensing obligations
   2   “run with the patent[s]” under Datatreasury. See Datatreasury Corp. v. Wells
   3   Fargo & Co., 552 F.3d 1368, 1372 (Fed. Cir. 2008); see also Opp. Br. at 19–22.
   4   Instead, Cox takes the absurd position that MaxLinear was allowed to assign the
   5   Asserted Patents, but still had to “retain the right to grant any licenses for essential
   6   patents.” Opp. Br. at 19. This theory fails on several counts.
   7         First, Cox’s interpretation directly contradicts the plain terms of the IPR
   8   Policy, specifically the provision that expressly governs “Transfer of Essential
   9   Patent Claims.” See IPR Policy § 5.1.2. That Policy explicitly states, in full:
  10         5.1.2 Transfer of Essential Patent Claims. Any sale, assignment or
  11         other transfer by an Alliance Party or its Affiliates to an unaffiliated
  12         third party of an Essential Patent Claim, or any patent or patent
  13         application that reasonably may contain or result in an Essential Patent
  14         Claim, shall be made subject to the terms in this IPR Policy. An Alliance
  15         Party may choose the manner in which it complies with this Section
  16         5.1.2, provided that any agreement for transferring or assigning
  17         Essential Patent Claims, or any patent or patent application that
  18         reasonably may contain or result in an Essential Patent Claim, includes
  19         a provision that such transfer or assignment is subject to existing
  20         licenses and obligations to license imposed on the Alliance Party by
  21         this Agreement and the Alliance Bylaws, and that the transferee will
  22         similarly include appropriate provisions in the event of future transfers
  23         with the goal of binding each successor-in-interest. Moreover, the
  24         licensing obligations under this IPR Policy are intended to be binding
  25         (e.g., as encumbrances) on all successors-in-interest regardless of
  26         whether such provisions are included.
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   1   Id. (emphases added). Section 5.1.2 thus contemplates that (1) an Alliance Party
   2   can choose how to comply with Section 5.1.2; and (2) the licensing obligations in
   3   Section 5.1.2 are binding on “successors-in-interest” upon transfer, not the Alliance
   4   Party itself. The explicit reference to “successors-in-interest” confirms that the IPR
   5   Policy contemplates successors stepping into the shoes of an Alliance Party and
   6   assuming the obligations therein. See, e.g., Mehul’s Inv. Corp. v. ABC Advisors,
   7   Inc., 130 F. Supp. 2d 700, 706 (D. Md. 2001). Further, Section 5.1.2 is specifically
   8   directed to transfers of patent rights and obligations. This is the section that governs
   9   transfers, not the other sections cited by Cox which relate to warranties and the like.
  10   See MacDonald & Kruse, Inc. v. San Jose Steel Co., 29 Cal. App. 3d 413, 421 (Cal.
  11   Ct. App. 1972) (“where a general and a particular provision of a written instrument
  12   are inconsistent, the particular controls the general”). The plain language of Section
  13   5.1.2 squarely rejects Cox’s interpretation that an Alliance Party is forever bound to
  14   the licensing obligations and cannot assign them. Cox’s counterclaims fail for this
  15   reason alone.
  16         Second, Cox’s interpretation contradicts basic principles of patent law.
  17   Section 5.1.2 expressly contemplates an “assignment” of IP property rights.
  18   “Assignment” in the patent context refers to the transfer of “all substantial rights” in
  19   the patent. See Alfred E. Mann Foun. For Sci. v. Cochlear Corp., 604 F. 3d 1354,
  20   1359 (Fed. Cir. 2010). Part of those substantial rights include the right to exclude or
  21   license others. See, e.g., Sicom Systems, Ltd. v. Agilent Technologies, Inc., 427 F.3d
  22   971, 979 (Fed. Cir. 2005). The parties to the IPR Policy are presumed to understand
  23   the legal import of terms like “assignment” as used in their agreement. See
  24   generally Hilton v. McNitt, 49 Cal. 2d 79, 82 (Cal. 1957) (parties and their
  25   attorneys presumed to know the law applicable to such agreements). Thus, the IPR
  26   Policy contemplates an “assignment” of patents that would permit Alliance
  27   Members to assign “all substantial rights,” including the right to grant licenses.
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          ENTROPIC’S REPLY IN SUPPORT OF MOTION TO DISMISS COX
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  1         If the IPR Policy were intended to force Alliance Parties to retain the right to
  2   grant licenses and bar them from ever transferring that right, then the IPR Policy
  3   would have far different language. For one, it would never have referred to
  4   “assignments.” Further, it would have had language explaining the scope of that
  5   perpetual licensing right, such as whether that right is non-exclusive, or whether the
  6   Alliance Party needs to obtain consent from the new patent owner before exercising
  7   that right, or whether the Alliance Party is required to give the new patent owner
  8   notice and an opportunity to object. No such provisions are present, and for good
  9   reason: the IPR Policy does not, and was never intended to, force Alliance Parties
 10   to retain a licensing right for all time. Instead, Section 5.1.2 permits an assignment
 11   that conveys all rights and obligations in the patents covered by the IPR Policy.
 12   Because the licensing obligations travel with the patents to the successor, the IPR
 13   Policy has no need to force the original owner to license the patents as well.
 14         Third, Cox’s reading of Section 4 is untenable and improperly creates
 15   conflict with other provisions of the IPR Policy. Cox turns to Section 4.1.2 to
 16   fabricate a “perpetual licensing right.” But that section says nothing about a
 17   licensing right existing in perpetuity. Rather, it is a standard warranty provision by
 18   which signatories warranted that they had the power and authority to carry out the
 19   IPR Policy:
 20         Each Alliance Party represents, warrants and covenants to the Alliance
 21         and to other Alliance Parties that it has the power and authority to bind
 22         itself and all of its Affiliates to the obligations contained herein,
 23         including without limitation, the obligation to grant patent licenses as
 24         set forth in this IPR Policy.
 25   IPR Policy § 4.1.2. This section simply confirms that signatories had the power to
 26   bind both themselves and their Affiliates under the IPR Policy when they signed it.
 27   Nowhere does it create an obligation to retain licensing rights to patents for all
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  1   time. To the contrary, Section 5.1.2 is clear that rights in essential patents—
  2   including licensing obligations—can be assigned or transferred to third parties.
  3         Section 4.1.1 further confirms that the provisions of Section 4 cannot be read
  4   to conflict with Section 5.1.2, as Cox seeks to do. Section 4.1.1 states that “[a]ll
  5   right, title and interest in and to Alliance Party Intellectual Property shall be owned
  6   exclusively by the Alliance Party(ies) who developed the Intellectual Property…”
  7   IPR Policy § 4.1.1. Under Cox’s reading of Section 4—i.e., that this section recites
  8   an obligation which extends in perpetuity—there could never be a transfer of
  9   intellectual property to a third party because IP could only be owned by an Alliance
 10   Party. This is very clearly wrong, as Section 5.1.2 confirms that transfers to “third
 11   parties” are permissible and expressly contemplated. Cox’s reading of Section 4
 12   creates conflict with Section 5.1.2, and thus is legally erroneous and must be
 13   rejected.
 14         The unreasonableness of Cox’s position is underscored by its self-
 15   contradictory arguments. In its pleading, Cox alleged that Section 4.1.1 “required
 16   that any such essential patents shall be owned by an ‘Alliance Party’” for all time.
 17   DE 276 (“Countercl.”) ¶ 547; see also ¶ 581 (alleging that MaxLinear “promise[d]
 18   that it would exclusively own the relevant intellectual property necessary to the
 19   MoCA standards”). Perhaps realizing that these assertions are flatly contrary to the
 20   assignment provision of Section 5.1.2, Cox changed its tune in its opposition brief.
 21   There, Cox tries to pivot to an interpretation of the IPR Policy that no longer
 22   required MaxLinear to own the patents in perpetuity, but still required it to make a
 23   choice: “continue to own the relevant patents” or else retain the right to grant
 24   licenses. Opp. at 19. This “choice” is nowhere in the IPR Policy and is inconsistent
 25   with Cox’s own position that Section 4 recites “present and future” promises that
 26   apply for all time. Id. at 20. Cox has drifted so far from the plain text of the IPR
 27   Policy that Cox itself cannot keep its contorted views consistent.
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  1         Here, the terms of the IPR Policy are unambiguous and should be given their
  2   plain meaning. See Salesbrain, Inc. v. AngelVision Technologies, No. 12-cv-5026,
  3   2013 WL 1191236, at *12 (N.D. Cal. Mar. 21, 2013) (“Where the terms of the
  4   contract are unambiguous, a court must enforce the contract according to its plain
  5   meaning”). Under those plain terms, MaxLinear had the right and the choice to
  6   assign its licensing obligations to a third party (Entropic), and those obligations
  7   would flow with the assignment. Cox’s Counterclaims rely on a legally erroneous
  8   reading of the IPR Policy and should be dismissed with prejudice.
  9         B.     Cox has not plausibly alleged a breach or harm from any breach
 10                related to RAND licensing obligations.
 11         Cox’s Counterclaims should also be dismissed because they fail to allege a
 12   breach, or any harm from an alleged breach, of the licensing obligations in the IPR
 13   Policy. In its Counterclaims, Cox alleges that Entropic induced MaxLinear to
 14   breach the requirement to offer a RAND license. Countercl. ¶ 584. According to
 15   Cox, current members must submit a “written request” under Section 5.1, whereas
 16   former members may request a license in any form they want, including verbally.
 17   See Opp. Br. at 10. Cox again misreads the IPR Policy. The Policy specifies that
 18   former members may request a license “under Section 5.1,” IPR Policy § 7.1, and
 19   Section 5.1 specifies that requests must be in writing. See id. § 5.1.1. Section 7.1 in
 20   no way grants more rights to former members than to current members. To the
 21   contrary, the rights of former members under Section 7.1 are cabined by Section
 22   5.1, and then those rights are further limited by precluding former members from
 23   requesting licenses on standards adopted after the member left the MoCA Alliance.
 24   Id. § 7.1. Cox’s misreading of Sections 5.1 and 7.1 further demonstrate that its
 25   allegations of breach are contrary to the plain terms of the IPR Policy and should be
 26   dismissed.
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         ENTROPIC’S REPLY IN SUPPORT OF MOTION TO DISMISS COX
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  1         Second, Cox argues that it does not matter whether the parties successfully
  2   breached the policy. What matters, according to Cox, is that Entropic and
  3   MaxLinear “affirmatively sought” to unencumber the patents. See Opp. Br. at 21.
  4   But an attempted breach of contract is not a breach of contract. See generally First
  5   Nat. Bank v. Continental Illinois Nat. Bank, 933 F.2d 466, 469 (7th Cir. 1991)
  6   (finding no injury where defendant attempted unsuccessfully to breach the
  7   contract); see also Haskell v. Santander Bank, N.A., No. 17-cv-11288, 2018 WL
  8   1750459, at *1 (D. Mass. Apr. 10, 2018) (“there has been no breach of any alleged
  9   promise not to foreclose on the property, and there is no cause of action for an
 10   attempted breach of an agreement”); Demalco Ltd. v. Feltner, 588 F. Supp. 1277,
 11   1280 (S.D.N.Y. 1984) (“plaintiff alleges not a breach of contract but an attempted
 12   breach”). Without a breach, there can be no claim for tortious interference. See
 13   Name.Space, Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d 1124,
 14   1133 (9th Cir. 2015). And, in any event, the IPR Policy is explicit that licensing
 15   obligations are binding on successors-in-interest “regardless of whether [specific
 16   provisions about the encumbrances] are included.” IPR Policy § 5.1.2. Therefore,
 17   Cox has failed to plead breach of contract.
 18         Lastly, Cox’s counterclaim pleads that “Cox is entitled to receive” a RAND
 19   offer “from MaxLinear, and only MaxLinear.” (Countercl. ¶ 579.) But it pleads no
 20   harm from receiving a RAND offer from Entropic instead. Cox argues in its brief
 21   that “the identi[t]y of MaxLinear as counterparty would result in far different
 22   outcomes on RAND rates.” Opp Br. 26–27. Cox never pleads such a harm, let alone
 23   explains what harm comes from those purportedly “different outcomes.” Further,
 24   Cox’s assertion is legally wrong: a RAND offer must be non-discriminatory, and
 25   thus “the commercial relationship between the licensor and licensee is irrelevant.”
 26   Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1230–31 (Fed. Cir. 2014). Cox’s
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         ENTROPIC’S REPLY IN SUPPORT OF MOTION TO DISMISS COX
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  1    speculation that it could get a more favorable RAND offer from MaxLinear as
  2    opposed to Entropic is contrary to law and cannot state a cognizable harm.
  3          C.     Cox has not plausibly alleged that it is entitled to relief based on
  4                 the alleged disclosure of confidential MoCA documents.
  5          Cox has not plead a viable tortious interference claim based on the alleged
  6    breach of disclosure of confidential documents. What Cox pleads suffers from two
  7    critical deficiencies. First, Cox does not plausibly allege there was an actual breach
  8    of any confidentiality obligations because the pleadings facially show that any such
  9    confidentiality obligations had already expired. Without a breach there is no
 10    tortious interference. Second, Cox’s pleadings are devoid of any specific allegations
 11    as to how Entropic induced MaxLinear to breach its confidentiality obligations.
 12    Either one of these deficiencies is fatal to Cox’s tortious interference claim based
 13    on the alleged disclosure of confidential documents.
 14                 1.    Cox has not plausibly alleged that MaxLinear violated
 15                       confidentiality obligations.
 16          Cox alleges that MaxLinear violated confidentiality obligations, specifically
 17    the confidentiality obligations set forth in Section 5 of Cox’s MoCA membership
 18    agreement.1 See DE 276 (“Countercl.”) ¶¶ 535, 546.
 19

 20                                           See DE 336 (“Motion”) at 15. The
 21    “confidential” MoCA standards documents that were allegedly shared with
 22    Entropic all purport to have issued no later than November 2013, meaning that any
 23    Cox confidential information published therein would have necessarily been
 24    “disclosed” by Cox before that date. By the time Entropic came onto the scene in
 25

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   1
        Specifically,
                   Cox alleges that MaxLinear signed asimilar membership agreement,
       which bound ax MLinear to the same confidentiality terms as set forth in Cox’s
 27    membership agreement. See Countercl. ¶ 535; see also ¶ 546 (alleging
       that MaxLinear “agreed to the same or equivalent confidentiality terms” as
 28    described in Section 5 of Cox’s membership agreement.).
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  1   2021, any duty to keep that information confidential was well past its expiration
  2   date. See 2:23-cv-1047, DE 1 ¶ 33 (Entropic formed in 2021).
  3         Cox dismisses this fundamental failure to state a claim as mere “timing
  4   details.” See Opp. Br. at 22. Not so. The term of a contract obligation, and
  5   expiration thereof, is a core issue, not a detail. Courts dismiss claims of breach
  6   where the confidentiality requirements have expired on their own terms. See
  7   Salesbrain, Inc. v. AngelVision Tech., No. 12-cv-05026, 2013 WL 1191236, at
  8   *12–14 (N.D. Cal. Mar. 21, 2013) (dismissing claim for breach of NDA based on
  9   Court’s finding that the NDA obligations expired before the allegedly breaching
 10   conduct); see also QuickLogic Corp. v. Konda Techs., Inc., 618 F. Supp. 3d 873,
 11   886 n. 7 (N.D. Cal. 2022) (NDA could not form the basis of any breach of contract
 12   or confidentiality claim that occurred after the contract expired). Here, Cox does
 13   not and cannot allege that the confidentiality provisions at issue were still in effect
 14   when the alleged conduct took place. That is fatal because a party cannot breach a
 15   contract provision that has expired, and uncontroverted facts—within the pleading
 16   itself—show that is the case. Because Cox fails to show that it is plausibly entitled
 17   to relief based on the disclosure of the MoCA standards, its claim necessarily fails.
 18                  2.   Cox has not plausibly alleged any specific acts by Entropic
 19                       designed to induce MaxLinear to breach its confidentiality
 20                       obligations.
 21         Beyond the expiration of the relevant contract provision, Cox’s claim also
 22   fails because there are no allegations of any specific acts by Entropic to induce
 23   MaxLinear’s alleged conduct. Cox argues that its Counterclaims sufficiently “aver”
 24   Entropic was aware of the confidentiality of the MoCA documents and
 25   affirmatively sought their disclosure from MaxLinear. See Opp. Br. at 16 (citing DE
 26   266-1 ¶¶ 561, 568–69). However, the paragraphs Cox cites do not contain any such
 27   allegations.
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  1         Paragraph 561 vaguely alleges that “in the course of negotiating the lengthy
  2   and complex Patent Purchase Agreement, Plaintiff learned of and was informed of
  3   the MoCA standards.” Countercl. ¶ 561. Paragraph 568 alleges that
  4

  5

  6                                          Finally, Paragraph 569 alleges that “
  7                                                                       , Plaintiff obtained
  8   copies of the otherwise confidential MoCA standards and has relied on those
  9   clearly marked confidential material to which it should not have had access to
 10   prepare and send its correspondence in 2022 to Cox and to prepare and bring this
 11   suit.” Id. ¶ 569. Nowhere are there allegations that “Entropic was aware of the
 12   confidentiality of the MoCA documents” or that Entropic “affirmatively sought
 13   their disclosure from MaxLinear” despite first having such knowledge. Absent such
 14   allegations, Cox cannot plead a claim for inducement related to the alleged breach
 15   of confidentiality.
 16         The only other fact Cox argues in support of its Counterclaim is that the
 17   documents in question are stamped “MoCA Confidential.” See Opp. Br. at 16. But
 18   all this shows is that, at most, Entropic would have become aware of the
 19   confidential marking of the documents only upon receiving the documents. It does
 20   not lend any credence to Entropic being aware of the confidential nature of the
 21   documents prior to their disclosure, let alone that Entropic induced MaxLinear to
 22   violate confidentiality obligations.
 23         Cox cites case law that broadly stands for the point that interference does not
 24   have to be the defendant’s primary motive. See Moore v. Apple, Inc., 73 F. Supp. 3d
 25   1191, 1203 (N.D. Cal. 2014). While that is true, it misses the point. Cox must still
 26   plausibly allege that Entropic “knew that the interference was certain or
 27   substantially certain to occur as a result of its action.” Kor. Supply Co. v. Lockheed
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  1   Martin Corp., 131 Cal. Rptr. 2d 29, 45 (2003). The three paragraphs of the
  2   Counterclaims cited above do not come close to meeting this standard. All they
  3   show is that Entropic received the documents in question and that the documents
  4   were stamped “confidential.” Therefore, Cox has not sufficiently pleaded tortious
  5   interference based on the alleged breach of confidentiality obligations.
  6         D.     The confidentiality claims do not “depend[] on the resolution of a
  7                substantial question of federal patent law.”
  8         Finally, to the extent the Court finds that Cox has sufficiently pleaded
  9   tortious interference based only on the alleged disclosure of confidential
 10   information, the claims must be dismissed for lack of subject matter jurisdiction
 11   pursuant to Rule 12(b)(1). This claim is not a federal question, and the Court lacks
 12   supplemental jurisdiction because the claim does not “depend[] on the resolution of
 13   a substantial question of federal patent law.” Fortinet, Inc. v. Forescout Techs.,
 14   Inc., No. 20-cv-03343-EMC, 2021 WL 5565836, at *18 (N.D. Cal. Nov. 29, 2021)
 15   (citing Additive Controls & Measurement Sys., Inc. v. Flowdata, Inc., 986 F.2d 476,
 16   477–78 (Fed. Cir. 1993)).
 17         Whether MaxLinear improperly disclosed confidential MoCA documents
 18   does not depend on patent law at all, much less on “resolution of a substantial
 19   question of federal patent law.” See Fortinet, 2021 WL 5565836 at *18. The only
 20   connection Cox points to between the confidentiality claims and the underlying
 21   patent infringement suit is a (false) assertion that Entropic would not have been able
 22   to bring this suit but for its access to the MoCA documents. See Countercl. ¶ 569.
 23   But what claims might arise from some document is not connected with the
 24   propriety of obtaining the document.
 25         Realizing the danger, Cox also argues that the confidentiality claim arises
 26   from the same case or controversy as the other tortious interference claims. See
 27   Opp. Br. at 29. Cox misapplies the law. The confidentiality claim must be
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  1   connected to the federal claim directly, not indirectly. It is not sufficient to be
  2   connected only to one of the other state claims. There is no “chain rule” of
  3   supplemental jurisdiction. Cox’s other tortious interference claims at least relate to
  4   the assignment of patents and thus plausibly implicate issues unique to patent law.
  5   But the same cannot be said for the confidentiality claims, which must be dismissed
  6   for this jurisdictional reason as well.
  7   III.    CONCLUSION
  8           For the foregoing reasons, Entropic respectfully requests that this Court
  9   dismiss Cox’s Amended Counterclaims that Entropic tortiously interfered with the
 10   MoCA IPR Policy (Count III) and that the patent assignments from MaxLinear to
 11   Entropic are void (Count II), with prejudice.
 12
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             ENTROPIC’S REPLY IN SUPPORT OF MOTION TO DISMISS COX
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  1                           CERTIFICATE OF COMPLIANCE
  2         The undersigned, counsel of record for Plaintiff Entropic Communications,
  3   LCC, certifies that this brief contains 3,982 words, which complies with the word
  4   limit of L.R. 11-6.1.
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 1                              CERTIFICATE OF SERVICE
 2                                                      Case No. 2:23-cv-01047-JWH-KES
 3         I am employed in the county of Los Angeles, State of California. I am over the
 4   age of 18 and not a party to the within action; my business address is: K&L GATES
 5   LLP, 10100 Santa Monica Boulevard Eighth Floor, Los Angeles, CA 90067.
 6         On March 15, 2024, I served the document(s) described as:
 7
        • DECLARATION OF RACHEL BERMAN IN SUPPORT OF PLAINTIFF
 8        ENTROPIC’S APPLICATION TO FILE DOCUMENTS UNDER SEAL
          REGARDING REPLY IN SUPPORT OF MOTION TO DISMISS COX
 9
          DEFENDANTS’ COUNTERCLAIMS
10      • ENTROPIC COMMUNICATIONS, LLC’S REPLY IN SUPPORT OF
          MOTION TO DISMISS COX DEFENDANTS’ AMENDED
11
          COUNTERCLAIMS PURSUANT TO RULE 12(b)(6)
12
           on the interested parties in this action by delivering a true copy thereof as
13
     follows:
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26        foregoing document(s) to the e-mail addresses set forth as stated on the
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28
                                           2
                                 CERTIFICATE OF SERVICE
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                                     ID #:18863


 1         I declare under penalty of perjury under the laws of the United States of
 2   America that the foregoing is true and correct.
 3         Executed on March 15, 2024, at Los Angeles, California.
 4

 5                                             /s/ Rachel Berman
                                               Rachel Berman
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